                             Case 18-14683-leb         Doc 98   Entered 08/22/18 10:44:17    Page 1 of 3


                      1

                      2

                      3

                      4
                        Entered on Docket
                    5August 22, 2018
                  __________________________________________________________________
                      6

                      7
                            GARMAN TURNER GORDON LLP
                      8     WILLIAM M. NOALL
                            Nevada Bar No. 3549
                      9     E-mail: wnoall@gtg.legal
                            GABRIELLE A. HAMM
                    10      Nevada Bar No. 11588
                            E-mail: ghamm@gtg.legal
                    11
                            MARK M. WEISENMILLER
                    12      Nevada Bar No. 12128
                            E-mail: mweisenmiller@gtg.legal
                    13      650 White Drive, Suite 100
                            Las Vegas, Nevada 89119
                    14      Telephone (725) 777-3000
                    15      Facsimile (725) 777-3112
                            Attorneys for Debtors
                    16
                                                       UNITED STATES BANKRUPTCY COURT
                    17
                                                            FOR THE DISTRICT OF NEVADA
                    18
                            In re:                                         Case No.: BK-S-18-14683-leb
                    19                                                     Chapter 11
                            GUMP’S HOLDINGS, LLC
                    20
                                     Affects this Debtor.                  Jointly administered with:
                    21

                    22                                                     No. BK-S-14684 (In re Gump’s Corp.)
                                     Affects all Debtors.
                                                                           No. BK-S-14685 (In re Gump’s By Mail, Inc.)
                    23
                                     Affects Gump’s Corp.
                    24                                                                    August 29, 2018
                                                                           Hearing Date: ___________________
                    25               Affects Gump’s By Mail, Inc.                          1:30 P.M.
                                                                           Hearing Time: ___________________

                    26
                                NOTICE OF HEARING AND ORDER SHORTENING TIME TO HEAR MOTIONS
                    27
                                     On August 15, 2018, Gump’s Holdings, LLC, Gump’s Corp., and Gump’s By Mail, Inc.
                    28
Garman Turner Gordon
 650 White Dr., Suite 100
Las Vegas, Nevada 89119
     (725) 777-3000

                            4811-1933-4256, v. 3
                             Case 18-14683-leb          Doc 98    Entered 08/22/18 10:44:17         Page 2 of 3


                      1     (collectively, “Debtors”), debtors and debtors-in-possession, filed their:

                      2                 (i)   Amended Motion for Order Pursuant to Sections 105, 363, and 365 of the

                      3                       Bankruptcy Code and Rules 2002, 6004 and 6006 of the Federal Rules of

                      4                       Bankruptcy Procedure: (i) Approving Bid Procedures with Respect to Sale of

                      5                       Certain IP Assets, Setting the Sale Hearing Date; and (ii) Approving and

                      6                       Authorizing the Sale of IP Assets to the highest and Bets Bidder Free and Clear of

                      7                       All Liens, Interests, Claims and Encumbrances, the Assumption and Assignment of

                      8                       Certain Related Executory Contracts, and Waiving the Requirements of Bankruptcy

                      9                       Rules 6004(h) and 6006(d) [ECF No. 90] (“Sale Process Motion”)

                    10                 (ii)   Application for Order Authorizing Retention of Lincoln International LLC as

                    11                        Financial Advisor to Debtors Pursuant to 11 U.S.C. §§ 327 and 328 [ECF No. 93]

                    12      (“Lincoln Retention Application” and collectively with the Sale Process Motion, the “Motions”).

                    13                In the Motions, Debtors request orders (i) approving bidding procedures with respect to the

                    14      sale of its intellectual property assets, (ii) setting the date for the auction and sale hearing;

                    15      (ii) approving and authorizing the sale of IP Assets to the highest and best bidder free and clear of

                    16      all liens, interests, claims and encumbrances, the assumption and assignment of certain related

                    17      executory contracts, and waiving the requirements of Bankruptcy Rules 6004(h) and 6006(d); and

                    18      (iii) authorizing Debtors to employ and retain Lincoln International LLC to serve as financial

                    19      advisor for Debtors, nunc pro tunc to the Petition Date.

                    20                The Court, having considered the Ex Parte Application for Order Shortening Time to Hear

                    21      Motions, and good cause appearing therefore,

                    22                IT IS HEREBY ORDERED and notice is hereby given that the Motions shall be heard

                    23      by a United States Bankruptcy Judge on the 29th         day of        August                 , 2018,
                                 1:30 P.M.
                    24      at           , PROVIDED HOWEVER, THAT WITH RESPECT TO THE SALE PROCESS

                    25      MOTION, THE COURT WILL ONLY CONSIDER THE PROVIDED PROCESS,

                    26      PROCEDURES AND FORMS TO BE USED IN CONNECTION WITH THE SALE OF

                    27      THE IP ASSETS SUBJECT TO THAT MOTION AND WAIVE THE 14 DAY STAY WITH

                    28      RESPECT THERETO. THE AUCTION AND HEARING TO APPROVE THE SALE, AS
Garman Turner Gordon
 650 White Dr., Suite 100
Las Vegas, Nevada 89119
     (725) 777-3000                                                            2
                            4811-1933-4256, v. 3
                             Case 18-14683-leb          Doc 98     Entered 08/22/18 10:44:17        Page 3 of 3


                      1     WELL AS OBJECTIONS THERETO, WILL OCCUR OR BE DUE AFTER THE ABOVE-

                      2     REFERENCED HEARING.

                      3              A copy of the above-referenced Motions and any supporting declarations and exhibits are

                      4     available free of charge at www.donlinrecano.com/gumps, on file with the clerk of the United

                      5     States Bankruptcy Court for the District of Nevada, Foley Federal Building and U.S. Courthouse,

                      6     300 S. Las Vegas Blvd, Las Vegas, NV 89101, or may be obtained by emailing Mark M.

                      7     Weisenmiller, Esq. at the address listed above.

                      8              IT IS HEREBY FURTHER ORDERED that service of this Order Shortening Time shall

                      9                       1 days of entry; that any oppositions to the Motions must be ______
                            be served within ___                                                           filed by August

                    10        27, 2018        ; that replies to any oppositions filed must be filed and served by August 28,

                    11      2018 ; and that this hearing may be continued from time to time without further notice except

                    12      for the announcement of any adjourned dates and times at the above noticed hearing or any

                    13      adjournment thereof.

                    14               IT IS SO ORDERED.

                    15       PREPARED AND SUBMITTED:

                    16       GARMAN TURNER GORDON LLP

                    17
                             By: /s/ William M. Noall
                    18           WILLIAM M. NOALL
                                 GABRIELLE A. HAMM
                    19           MARK M. WEISENMILLER
                                 Attorneys for Debtor
                    20

                    21

                    22

                    23

                    24

                    25

                    26
                    27

                    28
Garman Turner Gordon
 650 White Dr., Suite 100
Las Vegas, Nevada 89119
     (725) 777-3000                                                            3
                            4811-1933-4256, v. 3
